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                                UNITED STATES DISTRICT COURT
                                                          for the
                                                  District of Connecticut

                      John Doe
                        Plaintiff                            )
                                                             )
                                                                                           3:16 cv 1380 (AWT)
                           v.                                )      Case No.
Yale University, David Post and Jason Killheffer             )
                                                             )
                       Defendant

                                            NOTICE OF APPEARANCE

To:     The clerk of court and all parties of record

        I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                    Yale University, David Post and Jason Killheffer
                                                                                                                     .


                 Mar 23, 2017                                       /s/ Jillian R. Orticelli
Date:
                                                                                       Attorney’s signature

                                                                    Jillian R. Orticelli, ct28591
                                                                                   Printed name and bar number
                                                                    Carlton Fields Jorden Burt, P.A.
                                                                    One State Street, Suite 1800
                                                                    Hartford, CT 06103
                                                                                               Address

                                                                    jorticelli@carltonfields.com
                                                                                         E-mail address

                                                                    860-392-5055
                                                                                        Telephone number

                                                                    860-392-5058
                                                                                          FAX number




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                                   CERTIFICATE OF SERVICE


I hereby certify that on
                             Mar 23, 2017           , a copy of foregoing was filed electronically and served
by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court=s electronic filing system or by mail to [Below list the names and addresses of anyone
unable to accept electronic filing] as indicate on the Notice of Electronic Filing. Parties may access this filing
through the Court's CM/ECF System.


                                                            /s/ Jillian R. Orticelli
                                                            Attorney’s signature
